       Case 4:21-cv-05020-SMJ         ECF No. 10   filed 05/25/21   PageID.74 Page 1 of 1



                                                                                 FILED IN THE
1                                                                            U.S. DISTRICT COURT
                                                                       EASTERN DISTRICT OF WASHINGTON



2                                                                      May 25, 2021
                                                                            SEAN F. MCAVOY, CLERK

3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     SARAH SMITH,                                  No. 4:21-cv-05020-SMJ
5
                               Plaintiff,          ORDER ADOPTING STIPULATED
6                                                  PROTECTIVE ORDER
                  v.
7
     METROPOLITAN LIFE INSURANCE
8    COMPANY,

9                              Defendant.

10
           IT IS HEREBY ORDERED:
11
                  Pursuant to Federal Rule of Civil Procedure 26(c) and the parties’
12
                  stipulation, the parties’ proposed Stipulated Protective Order, ECF No.
13
                  9 at 8–27, is APPROVED, ADOPTED, and INCORPORATED in
14
                  this Order by reference.
15
           IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and
16
     provide copies to all counsel.
17
           DATED this 25th day of May 2021.
18

19
                        SALVADOR MENDOZA, JR.
20                      United States District Judge




     ORDER ADOPTING STIPULATED PROTECTIVE ORDER – 1
